                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

STINGRAY IP SOLUTIONS, LLC,           §
                                      §
     Plaintiff,                       §
                                      §
v.                                    §   JURY TRIAL DEMANDED
                                      §
TP-LINK TECHNOLOGIES CO., LTD.,       §
TP-LINK CORPORATION LIMITED,          §   CIVIL ACTION NOS.
and                                   §     2:21-cv-0045-JRG
TP-LINK INTERNATIONAL LTD.,           §     2:21-cv-0046-JRG
                                      §
      Defendants.                     §
                                      §
                                      §


      UNOPPOSED MOTION FOR EXPEDITED JURISDICTIONAL AND
       VENUE DISCOVERY AND TO EXTEND TIME TO RESPOND TO
     DEFENDANTS’ MOTION TO DISMISS AND MOTION TO TRANSFER
       Plaintiff Stingray IP Solutions, LLC (“Stingray” or “Plaintiff”) moves for expedited

jurisdictional and venue discovery to respond to the Motion to Dismiss For Lack of Personal

Jurisdiction (-00045, -00046, Dkt. Nos. 23, the “Motion to Dismiss”) and the Motion to Transfer,

each filed by and Defendants TP-Link Technologies Co., Ltd., (“TP-Link Tech.”), TP-Link

Corporation Limited (“TP-Link Corp.”), and TP-Link International Ltd. (“TP-Link Int’l”)

(collectively, “Defendants”) 1. Stingray asserts that limited jurisdictional and venue discovery is

warranted, under the circumstances, for Stingray to fully respond to Defendants’ Motion to

Dismiss and Motion to Transfer. The parties have negotiated a discovery period to conduct such

discovery. As a result, Stingray moves to extend the deadlines and to defer briefing of each motion

until the close of such limited discovery period. This motion is unopposed by Defendants, and

Defendants have agreed to the discovery and briefing schedule set forth herein.

I. FACTUAL BACKGROUND
       On February 8, 2021, Plaintiff Stingray filed the above-captioned actions in two original

complaints alleging that Defendants infringe Stingray’s patents. -00045, -00046, Dkt. Nos. 1. In

response to Stingray’s lawsuits, Defendants filed their Motion to Dismiss on February 4, 2022,

alleging lack of personal jurisdiction based on the central theme that Defendants “do not have any

operations in the United States.” On February 25, 2022, Defendants filed their Motion to Transfer

seeking to transfer the above-referenced actions to the Central District of California. To support

Defendants’ assertions, Defendants rely upon the factual assertions of two declarants: Yanmei

Zhang, who is “Operation Director” of TP-Link Tech. and Jianmei Sun, who is a “Director” of

TP-Link Corp. See Dkt. Nos. 23-1, 23-2; Dkt. Nos. 28-1, 28-2.



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 TP-Link Tech. refers to itself as “TP-Link China” in the Motion; for consistency, Plaintiff will
use “TP-Link Tech.” See Dkt. No. 23-1 at ¶ 1. Defendants also assert that Defendants TP-Link
International Ltd. and TP-Link Corporation Limited are the same entity. Mot. at 1. For purposes
of this Response, Plaintiff will refer to TP-Link Int’l and TP-Link Corp. jointly as “TP-Link Corp.”


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       These declarants deny that each Defendant “designs, manufactures, sells, or offers to sell

any products in Texas.” Id. Defendants argue that TP-Link USA (which is not a party to these

lawsuits) is “solely responsible for importing, marketing, advertising, offering to sell, and selling

‘TP-Link branded’ products in the United States.” Moreover, Defendants reveal that TP-Link

Corp. is a subsidiary of Diamond Creek Global Limited, a corporation organized in the British

Virgin Islands and that the parent of TP-Link USA is TP-Link UK, Ltd. To support their assertion

that the CDCA is the “clearly more convenient” venue, Defendants also assert that TP-Link USA

“is headquartered in the CDCA” and is the “central figure” in Stingray’s “jurisdictional

infringement theories.” Motion to Transfer at 1-2. These characterizations by Defendants directly

relate to Defendants’ actions in the U.S. and Texas, to the relationship that Defendants have with

their U.S.-based subsidiary TP-Link USA, and to whether such circumstances form the basis for

this Court to exercise personal jurisdiction and transfer these actions based on convenience.

       Because Stingray is unable to fully and fairly respond to Defendant’s Motion to Dismiss

or the Motion to Transfer without first conducting discovery into the issues presented therein, the

parties have agreed to certain limits on focused, expedited discovery into the jurisdictional and

venue issues raised in Defendant’s Motions. Stingray submits that discovery is necessary to

determine the facts regarding Defendants’ corporate structure, the contacts that Defendants

maintain with Texas and this District, and the factual allegations related to the alleged convenience

of the CDCA. Given that Defendants are privately held companies, jurisdictional and venue

discovery is especially appropriate.

       The parties have discussed Stingray’s requests for expedited discovery and have reached

an agreement regarding the scope of such discovery. Accordingly, Stingray submits this

unopposed motion.




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II. STINGRAY’S REQUEST FOR LIMITED JUSISDICTIONAL AND VENUE
DISCOVERY IS WARRANTED UNDER THE CIRCUMSTANCES
       “[W]here issues arise as to jurisdiction or venue, discovery is available to ascertain the

facts bearing on such issues.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350 n.13 (1978).

“[B]ecause the Rules favor broad discovery, jurisdictional discovery should only be denied where

it is impossible that the discovery ‘could ... add[ ] any significant facts’ that might bear on the

jurisdictional determination.” Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 2:17-CV-00430-

JRG, 2019 WL 2210686, at *3 (E.D. Tex. May 22, 2019) (quoting Alpine View Co. v. Atlas Copco

AB, 205 F.3d 208, 221 (5th Cir. 2000)). “Since evidence of jurisdictional facts is often largely or

wholly in the possession of an adverse party, broad jurisdictional discovery also ensures that

jurisdictional disputes will be ‘fully and fairly’ presented and decided.” Id. “A district court has

broad discretion in all discovery matters, and such discretion will not be disturbed ordinarily unless

there are unusual circumstances showing a clear abuse.” Moore v. CITGO Ref. & Chems. Co.,

L.P., 735 F.3d 309, 315 (5th Cir. 2013).

   A. Stingray Requires Jurisdictional and Venue Discovery to Fully and Fairly Respond
      to Defendants’ Motions.
       Here, expedited discovery is necessary to test the veracity and completeness of the factual

allegations presented in Defendants’ Motion to Dismiss and Motion to Transfer. Indeed,

jurisdictional and venue discovery is the only avenue for Stingray to fully respond to Defendants’

Motions. Defendants have supported both of their Motions with the same two declarations of their

respective employees Zhang and Sun. The declarations set forth statements regarding Defendants’

role in the manufacture, importation, sale, and use of TP-Link products in the U.S., including

Texas. Critically, fact discovery has yet to begin in this case. As such, Stingray is unable to verify

the assertions of the Motions, including those of Zhang and Sun, test the completeness, and gather

evidence to respond to the Motions through any avenue except expedited discovery. The declarants



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are employees of Defendants and cannot be reached without the Court’s discovery process.

       Expedited jurisdictional and venue discovery is also warranted because Stingray is limited

to publicly available information to oppose the Motion to Dismiss. In contrast, Defendants have

access to both publicly available and internal confidential (and non-confidential) information to

support their Motion to Dismiss. Stingray should be permitted an opportunity to conduct “broad

jurisdictional and venue discovery.” See, e.g., Blitzsafe Tex. LLC, 2019 WL 2210686, at *3

(recognizing the need for “broad jurisdictional discovery”).

   B. Stingray Has Negotiated with Defendants for Agreed Discovery Limits.

       As shown above, discovery is warranted. And the expedited discovery that Stingray seeks

bears specifically on the Court’s analysis of Defendants’ Motion to Dismiss and Motion to

Transfer. Specifically, the Parties have jointly arrived at the following limitations and timing for

expedited jurisdictional and venue discovery:

   1. Depositions – Stingray will be permitted to take one four-hour 30(b)(6) deposition of a

       single witness for both Defendants, TP-Link Technologies Co., Ltd. and TP-Link

       Corporation Limited. Additionally, Stingray will be permitted to take depositions by

       written questions of the following individuals: Declarant Yanmei Zhang, and Declarant

       Jianmei Sun. Stingray will also be able to take other depositions of non-Defendants (via

       an appropriate subpoena), including TP-Link USA. Defendants will not object to any

       subpoena from Stingray seeking to depose a representative for TP-Link USA (though any

       third party, including TP-Link USA, reserves all rights to raise whatever objections and

       defenses it wishes to any deposition subpoena).

   2. Interrogatories and Document Requests: 8 common interrogatories and 8 common

       document requests to (a) TP-Link Technologies Co., Ltd. and (b) TP-Link Corporation

       Limited. Stingray will also include among its document requests to TP-Link USA the


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       same 8 common document requests issued to the Defendants. Defendants will not object

       to any subpoena from Stingray seeking document production from TP-Link USA (though

       any third party, including TP-Link USA, reserves all rights to raise whatever objections

       and defenses it wishes to any document subpoena).

       The parties have agreed that Defendants will endeavor in good faith to respond to and

produce documents in response to written discovery requests within twenty-eight (28) days of

service. Further, given that Stingray will be required to secure evidence through subpoenas and

given that the Defendants are located abroad in China and Hong Kong, Stingray requests that the

Court allow at least seventy-five (75) days to complete the requested expedited discovery. See,

e.g., Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 2:17-CV-00430-JRG, 2019 WL 2210686,

at *4 (E.D. Tex. May 22, 2019) (allowing plaintiff to serve third-party subpoenas and ordering that

venue discovery be completed within sixty days). Stingray understands and proposes that the 75-

day limited discovery period will be calculated from the day the Court grants this motion. Stingray

further requests that its jurisdiction-related and venue-related discovery not count toward any

limitations which will be set forth in the Court’s future Discovery Order governing this matter.

   C. Plaintiff Seeks Extensions to Respond to Defendants’ Motion to Dismiss and Motion
      to Transfer and Seeks Deferral of Such Responses Pending Completion of
      Jurisdictional and Venue Discovery.

       Stingray’s proposed jurisdictional and venue discovery is necessary to facilitate fair and

full adjudication of the disputes raised in the Motion to Dismiss based on lack of personal

jurisdiction and the Motion to Transfer. As such, Stingray submits that the need for limited,

expedited discovery provides good cause to defer and extend the relevant briefing deadlines.

       Stingray respectfully requests the opportunity to complete the expedited jurisdictional and

venue discovery prior to responding to Defendants’ Motion to Dismiss and Motion to Transfer.

The response to the Motion to Dismiss on the jurisdictional issue is currently due on March 11


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(pursuant to prior extensions granted by the Court), and the Plaintiff’s response to the Motion to

Transfer is similarly due March 11. See Dkt. Nos. 33 (this Court granting Plaintiff’s Unopposed

Third Motion for Extension of Time to Response to Defendant’s Motion to Dismiss). Specifically,

the parties request that the Court further extend the deadlines and defer the deadline to respond to

Defendants’ Motion to Dismiss based on personal jurisdiction issues and Motion to Transfer to a

date fourteen (14) days after the completion of jurisdictional and venue discovery. Should the

Court deny the present joint motion, the parties alternatively request that Stingray’s deadlines to

respond be extended and deferred to fourteen (14) days after any Court order denying this motion.

III. CONCLUSION
       For the foregoing reasons, Stingray requests that the Court grant its request for the

expedited jurisdictional and venue discovery requested herein, and that the Court extend the

briefing schedule on these motions in accordance with the above requests.




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Dated: March 11, 2022         Respectfully submitted,
                              /s/ Jeffrey R. Bragalone____________
                              Jeffrey R. Bragalone (lead attorney)
                              Texas Bar No. 02855775
                              Terry A. Saad
                              Texas Bar No. 24066015
                              Marcus Benavides
                              Texas Bar No. 24035574
                              Hunter S. Palmer
                              Texas Bar No. 24080748
                              BRAGALONE OLEJKO SAAD PC
                              2200 Ross Avenue
                              Suite 4600W
                              Dallas, TX 75201
                              Tel: (214) 785-6670
                              Fax: (214) 785-6680
                              jbragalone@bosfirm.com
                              tsaad@bosfirm.com
                              mbenavides@bosfirm.com
                              hpalmer@bosfirm.com

                              Wesley Hill
                              Texas Bar No. 24032294
                              WARD, SMITH, & HILL, PLLC
                              P.O. Box 1231
                              Longview, TX 75606
                              Tel: (903) 757-6400
                              Fax: (903) 757-2323
                              wh@wsfirm.com

                              ATTORNEYS FOR PLAINTIFF
                              STINGRAY IP SOLUTIONS, LLC




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                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Plaintiff Stingray, Jeff Bragalone, Marcus

Benavides, and Wesley Hill (local counsel) met and conferred with counsel for Defendants,

Kristopher Reed, via email and phone conferences on February 17 and 18 regarding various

matters pertaining to Defendants’ Motion to Dismiss, including initiating discussions regarding

jurisdictional discovery. On February 24, 2022, Mr. Reed, Mr. Bragalone, Mr. Benavides, and Mr.

Hill continued discussions, via a phone conference, related to jurisdictional discovery and the

interplay of that discovery with potential discovery related to the anticipated motion to transfer

venue. On February 28, March 3, and March 4, Mr. Bragalone, Mr. Benavides, and Mr. Hill,

conferred via email exchanges with Mr. Reed, regarding their respective positions as to both

Stingray’s request for expedited jurisdictional discovery and venue discovery related to the

Defendants’ Motion to Transfer. On March 9, 10, and 11, Mr. Reed and Mr. Bragalone, Mr.

Benavides, and Mr. Hill conferred subsequently numerous times via emails regarding Plaintiff’s

request for jurisdictional and venue discovery. In advance of that meet and confer, Plaintiff

identified to Defendants the specific scope of discovery that it was seeking, and Defendants and

Stingray negotiated the scope of limited jurisdictional and venue discovery that Stingray seeks in

this Motion. Accordingly, Defendants do not oppose this Motion.

                                                     /s/ Jeffrey R. Bragalone




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

was electronically filed with the clerk of the court for the U.S. District Court, Eastern District of

Texas, Marshall Division, on March 11, 2022, to be served via the Court’s electronic filing system

upon all counsel of record.

                                                      /s/ Marcus Benavides




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